Herman G. Walker, Jr.
LIMÓN & WALKER, LLC
606 E Street, Suite 203
Anchorage, Alaska 99501
Ph: (907) 279-2889
Fax: (907) 258-4428
hermanjr@limonwalker.com
Attorney for Plaintiff


                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

FELISHA L. LASHLEY,               )
                                  )
      Plaintiff,                  )
                                  )
v.                                )
                                  )
HORACE MANN TEACHERS              )
INSURANCE, INC.,                  )
                                  )
      Defendant.                  ) Civil Action No. ________________
_________________________________ )

               COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Felisha Lashley, by and through her attorney, Herman G.

Walker, Jr. of LIMÓN & WALKER, and for her complaint against Defendant,

Horace Mann, Teachers Insurance, does state and allege as follows:


         1.    Plaintiff was a resident of Anchorage, Alaska at the time of the

crash.


         2.    At all times material hereto, Defendant was and is a State of Illinois

corporation licensed by the State of Alaska and doing business in the State of

Alaska and subject to the jurisdiction of this Court.
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       3.      There is diversity between the parties and the amount in controversy

is in excess of $50,000.00 and this court has proper jurisdiction pursuant to 28

USC § 1332.


       4.      Defendant is liable for the actions and /or failures to act of its

employees under theories of respondent superior and/or agency and/or vicarious

liability (Horace Mann, Teachers Insurance and its employees are hereafter

referred to as “Horace Mann” or “Defendant”).


       5.      On or about January 2, 2009, Plaintiff Ms. Lashley was injured in an

auto collision as a driver in a vehicle insured by Defendant for underinsured

motorist (U/M) coverage in the amount of $50,000.00 per person and $100,000

per collision. The policy number 16846E was in the name of Lisa Lashley and

covered Plaintiff’s vehicle.


       6.      The collision on January 2, 2009, was caused by the negligence of

David B. Terrini.


       7.      The collision caused injuries to Plaintiff, Felisha Lashley, including

but not limited to, injuries to her head, neck, eyesight, hearing, short term

memory, psychological damage, and a dissected carotid artery.


       8.      David B. Terrini’s automobile insurance coverage was not adequate

to cover all of Plaintiff’s losses.



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       9.      Plaintiff’s collision and the liability of the underinsured tortfeasor

for Plaintiff’s injuries and damages are undisputed.


       10.     Defendant’s adjusters determined that David B. Terrini was at fault

for one hundred percent of Plaintiff’s damages.


       11.     Defendant determined that Plaintiff was not at fault in the collision.


       12.     Plaintiff, through counsel, made numerous demands for the limits of

Plaintiff’s policy due to the severity of her injuries.


       13.     David B. Terrini is an underinsured motorist under the terms of

Horace Mann’s insurance policy covering Plaintiff in the auto collision on January

2, 2009.


       14.     Defendant completed its adjustment of Plaintiff’s UIM claim

pursuant to 3 AAC 26.050.


       15.     The underinsured motorist, David B. Terrini, caused Plaintiff,

Felisha Lashley, to incur medical expenses, future wage loss, impairment,

disability pain/suffering and loss of enjoyment of life.


       16.     David B. Terrini was liable for negligence and/ or negligence per se

for violation of among other things: AMC 09.16.140(b) – Drivers Failure to use

due care to avoid an accident.


       17.     The violation of the above provisions is evidence of negligence.

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         18.   David B. Terrini is liable for past and /or future: medical expense,

wage loss, diminished earning capacity, impairment, loss of employment benefits,

pain, suffering, disability, loss of capacity for enjoyment of life, inconvenience,

physical impairment, and other non-pecuniary damages in an amount greater than

$50,000 (FIFTY THOUSAND DOLLARS).


         19.   Defendant contractually obligated itself to pay “…damages for

bodily injury an insured is legally entitled to collect from the owner or driver of an

underinsured motor vehicle.”


         20.   Defendant is liable to Plaintiff for past and /or future: medical

expense, wage loss diminished earning capacity, disfigurement , loss of

employment benefits, pain, suffering, disability, loss of capacity for enjoyment of

life, inconvenience, physical impairment, and other non-pecuniary damages in an

amount up to its $50,000 policy limits plus medical bills.


         21.   To date, Horace Mann has paid Plaintiff zero pursuant to her UIM

claim.


         22.   A UIM claim is a first-party insurance claim.


         23.   Plaintiff is a first party insured of Horace Mann for this collection.


         24.   Horace Mann must treat its first-party insureds with the same regard

as it treats its own interests when it comes to adjustment of their claims.


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       25.     Horace Mann has an improper motive for holding the money instead

of paying the amount it determines owed to its first-party insured.


       26.     The uninsured motorist coverage and underinsured motorist

coverage section of Horace Mann’s policy that applies to this collision provides as

follows:


       Deciding fault and amount

       “Two questions must be decided by agreement between you and us:

               1.     Are you entitled to collect damages from the owner or driver

of an underinsured or uninsured motor vehicle; and


               2.     If so, in what amount?


               If there is no agreement to the above questions and both parties

agree to arbitration….”


       27.     On November 3, 2010, Horace Mann’s adjuster suggested that

Horace Mann pay only $7,500.00 to Plaintiff for her UIM claim.


       28.     On May 3, 2011, Plaintiff, through her attorney, requested defendant

arbitrate the amount of damages caused to Plaintiff by the underinsured motorist,

that is payable under Horace Mann’s UIM claim.


       29.     On May 25, 2011, Horace Mann’s adjuster did not agree to arbitrate.




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         30.   Horace Mann’s adjusters followed a policy of declining to arbitrate

Alaska UIM claims when requested to arbitrate by insureds or their attorneys.


         31.   In Gibson v. Geico, the Alaska Supreme Court indicated: “Gibson is

probably right that arbitration would have been a less expensive way to resolve

this case…” Gibson v. Geico General Ins. Corp., 153 P.3d 312, 320 (Alaska

2007).


         32.   Arbitration is a less expensive way for insureds to resolve UIM

disputes than litigation.


         33.   Arbitration is quicker than litigation to resolve a UIM dispute.


         34.   Horace Mann had an improper motive for declining to arbitrate.


         35.   Horace Mann had bad motives for choosing to litigate instead of

arbitrate first-party claims, including deterring Plaintiff by causing Plaintiff to

incur litigation expenses and/or unreasonably putting Horace Mann’s financial

interests ahead of its first-party insured’s interests for financial gain. In making

this decision, Horace Mann considered which forum will award less money to

Plaintiff in its decision making process and/or exposing Plaintiff to Horace

Mann’s attorney fees or costs if the case goes to trial thereby raising the stakes and

expense of disputing a first party claim.


         36.   Horace Mann’s knew or should have known of this expense.


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       37.      Most people do not have the financial resources to litigate a case

against an insurance company through jury trial in order to resolve their insurance

claim disputes.


       38.      Horace Mann makes money by investing premiums paid by

customers while paying claims over time.


       39.      Horace Mann refused to pay a claim without a reasonable

investigation of all the available information in violation of AS 21.36.125 (a)(4).


       40.      On February 17, 2011, Horace Mann was requested, pursuant to

AS 21.36.125(15), to explain their offer of $7,500.00.


       41.      On February, 23, 2011, Horace Mann stated, “CT scans performed

on Ms. Lashley’s head/brain were listed as normal.”


       42.      Ms. Lashley’s CAT scan showed a left dissected carotid artery.

Bates stamp FLL 00037.


       43.      On March 22, 2011, a letter was sent to Horace Mann telling them

about the dissected carotid artery. Medical records were also attached supporting

the injury.


       44.      On January 12, 2012, Horace Mann subsequently offered $15,000.00

to Plaintiff.




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       45.      Defendant failed to attempt in good faith to make prompt and

equitable settlement of claims in which liability is reasonably clear in violation of

AS 21.36.125(a)(6).


       46.      Defendant engaged in a pattern or practice of compelling insureds to

litigate for recovery of amounts due under insurance policies by offering

substantially less than the amounts ultimately recovered in actions brought by

those insureds in violation of AS 21.36.125(a)(7).


       47.      Horace Mann compelled an insured in a case in which liability is

clear to litigate for recovery of an amount due under an insurance policy, by

offering an amount that does not have an objectively reasonable basis in law and

fact and has not been documented in the insurer’s file in violation of AS

21.36.125(a)(8).


       48.      Horace Mann failed to pay those portions of the claim not in dispute

within 30 working days after the receipt of a properly executable statement of

claim, proof of loss, or other acceptable evidence of loss in violation of 3 AAC

26.070(a)(2).


       49.      Horace Mann’s conduct is governed by AS 21.36.125(a) and 3AAC

chapter 26.


       50.      Defendant knew or should have known of the rules set forth in AS

21.36.2125(a) and 3 AAC Chapter 26.

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       51.     Violation of AS 21.36.125(a) is a breach of the covenant of good

faith and fair dealing.


       52.     Violation of 3 AAC Chapter 26 is breach of the covenant of good

faith and fair dealing.


       53.     The above violations of the Alaska Administrative Code are unfair

claim settlement practices in violation of AS 21.36.125.              Also see 3 AAC

26.010(a) and (b).


       54.     Defendant unreasonably adjusted Plaintiff ’s UIM claim.


       55.     Requiring insureds to file lawsuits against defendant to resolve first-

party insurance claims is unreasonable and unconscionable.


       56.     Failing to advise insureds of the expenses involved in litigating and

the exposure for Horace Mann’s attorney fees in litigation is unreasonable and

unconscionable.


       57.     Defendant is liable for compensatory and punitive damages for

breach of contract.


       58.     Defendant is liable for compensatory damages, including, but not

limited to, mental distress and punitive damages for breach of the covenant of

good faith and fair dealing in an amount greater than FIFTY THOUSAND

($50,000.00) DOLLARS, the exact amount to be set by the trier of fact.

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       59.     Defendant is liable for punitive or exemplary damages for reckless

disregard, and/or willful disregard, and/or wanton disregard for Plaintiff’s interests

and for outrageous conduct, reckless indifference and conscious action and

deliberate disregard for Plaintiff’s interests or other in an amount the trier of fact

deems just.


       60.     Defendant’s conduct was outrageous, including acts done with

malice or bad motives, or evidenced reckless indifference to the interests of

another person.


       WHEREFORE, having fully pled Plaintiff’s complaint, Plaintiff requests a

jury trial pursuant Fed. R. Civ. P. 38 and judgment against defendant for an

amount of FIFTY THOUSAND ($50,000.00) DOLLARS to be established by the

trier of fact, plus interest, costs and attorney fees and such relief as the court

deems just.


       DATED this 25th day of September, 2012.

                                             By: /s/ Herman G. Walker, Jr.
                                             Attorney for Plaintiff
                                             606 E Street, Suite 203
                                             Anchorage, Alaska 99501
                                             hermanjr@limonwalker.com
                                             Phone: (907) 279-2889
                                             ABA#9311094




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